    Case 4:19-cv-00057-DN Document 19 Filed 03/03/20 PageID.274 Page 1 of 2




Stephen H.M. Bloch (UT #7813)
Landon Newell (UT #14738)
SOUTHERN UTAH WILDERNESS ALLIANCE
425 East 100 South
Salt Lake City, UT 84111
(801) 486-3161
steve@suwa.org
landon@suwa.org

Attorneys for Plaintiffs
Living Rivers and Southern Utah Wilderness Alliance


                          IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF UTAH


    LIVING RIVERS et al.,                                   PLAINTIFFS’ NOTICE AND REQUEST
                                                                 FOR ORAL ARGUMENT
         Plaintiffs,

    v.                                                             Case No. 4:19-cv-00057-DN-PK

    KENT HOFFMAN et al.,                                                 Judge David Nuffer
                                                                     Magistrate Judge Paul Kohler
         Defendants.


           Plaintiffs Living Rivers and Southern Utah Wilderness Alliance (SUWA) respectfully file

this Notice requesting that the Court hold oral argument in the above-captioned matter. Pursuant

to the Court’s Practices & Procedures and Resources 1 regarding hearings on motions, counsel for

Plaintiffs, Mr. Landon Newell, is a junior member of SUWA’s legal team and would appreciate

and benefit from the opportunity to argue the pending motion to dismiss.2




1
  United States Dist. Court, Dist. of Utah, Judge David Nuffer, https://www.utd.uscourts.gov/judge-david-
nuffer#HearingOnMotions (last updated Aug. 28, 2019).
2
  The briefing in this matter has been completed. Defendants filed a Motion to Dismiss Action on October 4, 2019
(ECF No. 16). Plaintiffs filed an Opposition to the Motion to Dismiss on November 1, 2019 (ECF No. 17).
Defendants filed their Reply Supporting the Motion to Dismiss on November 15, 2019 (ECF No. 18).
Case 4:19-cv-00057-DN Document 19 Filed 03/03/20 PageID.275 Page 2 of 2




   Respectfully submitted this 3rd day of March, 2020.




                                                         /s/ Landon Newell
                                                         Landon Newell
                                                         Stephen Bloch
                                                         Attorneys for Living Rivers and
                                                         Southern Utah Wilderness Alliance




                                          2
